     Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 1 of 19



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION


 WENDELL TEAGUE, RONALD TEAGUE                       )
And SUSAN TEAGUE MARS, As Next of Kin                )
and as Administrators of The Estate of               )
THOMAS ALLEN TEAGUE, deceased,                       )
                                                     )
              Plaintiffs,                            )
                                                     )
       vs.                                           )      CIVIL ACTION NO:
                                                     )
UPSON COUNTY, GEORGIA, DAN KILGORE                   )
UPSON COUNTY SHERIFF, AND                            )
JONATHAN BUSBEE, M.D.,                               )
CAROL USSERY, LPN AND JANE DOE, LPN                  )
                                                     )
                                                     )
                                                     )
              Defendants.                            )


                                     COMPLAINT


       Comes Now Wendell Teague, Ronald Teague and Susan Teague Mars as Next of

Kin of Thomas Teague and Wendell Teague as Administrator of The Estate of Thomas

Allen Teague, deceased, and files this Complaint against Upson County, Georgia, Upson

County Sheriff, Jonathan Busbee, M.D., Carol Ussery, LPN, Jane Doe who’s initials are

EW, LPN.


                                            1.


    Plaintiff’s Complaint is an action for personal injury, pain and suffering, medical

 expenses, funeral expenses, wrongful death and punitive damages, as well as an action

under the Civil Rights Act of 1871, 42 U.S.C. §§ 1983 and 1988, to secure redress for the
      Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 2 of 19



 violation by certain of said Defendants of Plaintiff’s decedents Thomas Allen Teague’s

constitutional rights under the Fourth, Eighth and Fourteenth Amendments to the United

  States Constitution. Said actions also seeks recovery for various claims arising out of

   certain of said Defendants’ violations of certain Georgia statutory duties, as well as

Georgia common law and certain Georgia state constitutional rights (Article I, Section I,

     Paras. I and XVII). Said action is also one for medical and nursing malpractice.


                                        PARTIES


                                             2.


        This Court has jurisdiction of this action under 28 U.S.C. §§ 1331 (federal

question) and 1243(3), (4) (civil rights). This Court also has pendent jurisdiction under 28

U.S.C. § 1367 over Plaintiff’s claims, asserted herein, arising under Georgia law.


                                             3.


        Plaintiff’s Susan Teague Mars, Ronald Teague and Wendell Teague are the

surviving next of kin of Thomas Teague who died on September 4, 2014. Said Plaintiffs

individually bring this action for wrongful death on their behalf for the full value of the

said Thomas Allen Teague’s life. Wendell Teague has petitioned to be the Administrator

of the Estate of Thomas Teague. Said Plaintiff, Wendell Teague brings this action for

Thomas Teague’s pain and suffering prior to his death, medical expenses, funeral

expenses, punitive damages and for violations of certain of said decedent’s State of

Georgia and United States constitutional rights and any other claim authorized by both

state and federal law.
      Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 3 of 19



                                             4.


       Defendant UPSON COUNTY, GEORGIA was and is organized and exists under

the laws of the State of Georgia. Upson County, Georgia is also a person within the

meaning of 42 U.S.C. §§ 1983 and 1988 and amenable to claims under federal law. Said

Defendant is subject to the jurisdiction of this Court and may be served through its

Chairman of the Board of County Commissioners, namely RUSTY BLACKSTONE,

Upson County Commission, 106 E. Lee Street, Suite 110, Thomaston, Georgia 30286.

Venue is proper in this Court as to said Defendant.


                                             5.


       Defendant DAN KILGORE, is the Sheriff of Defendant Upson County, Georgia,

employed by Defendant Upson County, Georgia, and was responsible for the

administration of the Upson County Sheriff’s Department, including the Upson County

Jail and/or Detention Center (hereinafter “the Upson County Jail”) at the times alleged

herein. Said Defendant is subject to the jurisdiction of the Court and may be served at the

Office of the Sheriff of Upson County, 235 Aviation Drive, Thomaston, Georgia 30286.


                                             6.


       Defendant JANE DOE, LPN a nurse who’s initials are E.W., was an employee

who contracted with the Upson County Jail of Defendant Upson County, Georgia, at the

times alleged herein, employed as said Jail’s nurse. Said Defendant is subject to the

original and/or pendent jurisdiction of the Court and may be served at her place of

employment, 235 Aviation Drive, Thomaston, Georgia 30286. Venue is proper in this
      Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 4 of 19



Court as to said Defendant.


                                           7.


        Defendant CAROL USSERY, LPN, was an employee who contracted with the

Upson County Jail of Defendant Upson County, Georgia, at the times alleged herein,

employed as said Jail’s nurse. Said Defendant is subject to the original and/or pendent

jurisdiction of the Court and may be served at her place of employment, Thomaston

Medical Clinic, P.C., 615 S. Center Street, Thomaston, Georgia 30286. Venue is proper

in this Court as to said Defendant.


                                           8.


        Defendant JONATHAN BUSBEE, M.D., is a physician practicing medicine in

Upson County, Georgia and at the times alleged herein was the contract physician for the

Upson County Jail. Said Defendant is subject to the original and/or pendent jurisd iction

of the Court and may be served at his business address, Thomaston Medical Clinic P.C.,

615 S. Center Street, Thomaston, Georgia 30286. Venue is proper in this Court as to Said

Defendant.


                                           9.


        At the times alleged herein, Defendant Jonathan Busbee, M.D., was an agent and

employee of Defendants Upson County Georgia and Upson County Sheriff, acting within

the scope of his employment and agency.
         Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 5 of 19



                                            10.


          At the time alleged herein, Defendant Dan Kilgore, was an employee and agent of

Upson County, Georgia, acting within the scope of his employment and agency.


                                            11.


          At the times alleged herein, Defendant Jonathan Busbee, M.D., had entered into

an agreement and/or contract with Defendant Upson County to provide health care

services at the Upson County Jail. Additionally, Defendant Jonathan Busbee, M.D. as the

Upson County Jail’s Physician, is responsible for providing and directing medical care

and services to inmate detainees such as Plaintiff’s decedent at the Upson County Jail.

Plaintiff’s decedent Thomas Teague was a third party beneficiary of said contact at all

times alleged herein.


                                            12.


          At the times alleged herein, Defendant Sheriff Dan Kilgore, as shown herein,

actively participated in certain unlawful action throughout the booking and/or detention

stage of the said Thomas Teague, leading up to his untimely September 4, 2014 date of

death.


                                            13.


          In September 2014, Defendant Upson County, Georgia, was responsible for the

administration of said county’s Sheriff’s Department and Jail.
      Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 6 of 19



                                         FACTS


                                            14.


        As noted, Plaintiff’s WENDELL TEAGUE, SUSAN TEAGUE MARS AND

RONALD TEAGUE, are next of kin of the deceased, Thomas Teague. Said Plaintiff

Wendell Teague, has petitioned for appointment to be the administrator of said

decedent’s estate.


                                            15.


        On August 7, 2014, decedent Thomas Teague (hereinafter “Teague”) was

processed into the Upson County Jail (hereinafter “Jail”) as an inmate with a recorded

medical history which included bradycardia and dizziness.


                                            16.


       As of said August 7, 2014 arrest date up through his September 4, 2014 date of

death, Teague was incarcerated and under the custody of and control of Upson County,

the Upson County Sheriff’s Department, the Upson County Jail and/or various Upson

County employees and/or agents.


                                            17.


        Mr. Thomas Allen Teague was admitted to Upson Regional Medical Center on

August 27, 2014 for dizziness, low heart rate and chest pain.
     Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 7 of 19



                                            18.


         Mr. Teague advised that he had not taken his medicine in three weeks. Mr.

Teague was then administered Acetaminophen and Heparin Sodium FL.


                                            19.


         Mr. Teague was advised that he would need to wear a Holter Monitor and Dr.

Busbee will follow up with him in jail the next day. Mr. Teague was evaluated for

Bradycardia.


                                            20.


         Mr. Teague wore the Holter Monitor for 24 hours before it was removed by Dr.

Busbee, and the Holter report was read by Dr. Busbee.


                                            21.


         On September 1, 2014, Mr. Teague wrote on the Upson County Jail Medical

Services Request that he had “blacked out in the shower hurt my left ankle hurt my neck

and back. Vomiting for three days straight and got the runs. Heart is speeding up and

down.”


                                            22.


         On September 3, 2014, Mr. Teague wrote again on the Upson County Jail

Medical Services Request that his “left foot is totally swollen, pinched nerve on the right

of back, it affects me when I lay down”. On September 4, 2014 he was prescribed

Remeron, Trazodone, Risperdal and Loratab 5.
      Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 8 of 19



                                             23.


           On September 4, 2014 while being observed in a Detox holding cell, Mr. Teague

died of double bronchial pneumonia. The Defendants took no action to perform CPR or

Defibrillation in an effort to revive him.


                                             24.


           Mr. Teagues death was both forseeable and preventable. The Defendants failed to

respond to his numerous medical requests and rendered treatment well below the standard

of care.


                                             25.

           Defendant Jonathan Busbee, M.D. accepted Teague as his patient, established a

patient-physician relationship and, pursuant to same, ordered Teague admitted to said

hospital. Defendant Jonathan Busbee, M.D. failed to render proper standard of care

medical diagnosis, care and treatment to Teague, as his patient and as an inmate at the

Upson County Jail.




                                             26.

           Throughout Teague’s period of incarceration leading up to his death, Jail Nurse

Defendant Carol Ussery, LPN, failed to render proper standard of care nursing

diagnosis, care and treatment to Teague as an inmate of the Upson County Jail.
     Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 9 of 19



                                            27.

       During Teague’s Period of incarceration leading up to his death on September

9, 2016, the Upson County Defendants and various other Upson County and/or Upson

County Sheriff’s Department and/or Jail personnel were negligent in their official and

in individual capacities in their handling, care and treatment of Teague as a Upson

County Jail Inmate, which negligence contributed to the mental and physical pain

and suffering Teague endured prior to his death and which negligence also let to

Teague’s death. Certain intentional actions or inactions on the part of the Upson

County Defendants and/or other Upson Count, Upson County Sheriff’s Department

and/or Upson County Jail Personnel also contributed to Teague’s last pain and

suffering, as well as his untimely death.

                                            28.

       Teague’s physical condition continuously deteriorated from August 27, 2014

up through his September 4, 2014 date of death, with certain accompanying mental

and physical pain and suffering and his ultimate death being proximately caused by

the negligent and/or intentional acts and omissions of Defendants Upson County,

Georgia, the Upson County Defendants, said County’s Sheriff’s Department and

certain of its officers and/or employees, Defendant Carol Ussery, LPN, Defendant Jane

Doe, and Defendant Jonathan Busbee, M.D., such being evidenced in their deliberate

indifference to Teague’s life-threatening medical condition.
     Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 10 of 19



                                            29.

       Defendant Upson County, Georgia is responsible for promulgating the policies

and procedures under which said County’s Sheriff, Sheriff’s Department and/or Jail’s

employees and officers acted and was, accordingly, acting under State Law.

                                            30.

       Defendant Upson County, Georgia, and Defendant Dan Kilgore failed to adopt

proper policies and procedures, as well as failed to direct, train and supervise county

and/or Jail personnel in the proper care and treatment of incarcerated inmates with

medical conditions in county-operated facilities. Defendant Dan Kilgore and other

Upson County Defendants failed to follow established county, Sheriff’s Department

and/or Jail policies and Procedures in the supervision, care and/or treatment of

Teague.

                                            31.

       On December 30, 2014, via certified mail, Defendants Upson County, Georgia,

Upson County Sheriff and Dr. Jonathan Busbee and others were notified in

accordance with O.C.G.A. § 36-11-1, as well as copies of evidence of proper receipt of

same, are attached hereto as Exhibit “A.”




                         CERTAIN CAUSES OF ACTION

                                            32.
     Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 11 of 19



       The care and treatment of lack thereof of Teague by Defendants Jonathan Busbee,

M.D., Carol Ussery, LPN and Jane Doe fell below the standard of care of the medical and

nursing professions generally under like or similar circumstances.


                                             33.


       Plaintiff attaches hereto as Exhibit “B” the Affidavit of Lawrence Wilson, M.D., a

medical doctor actively involved in the practice of medicine since 2009. Dr. Wilson’s

Affidavit sets forth at least one negligent act of Defendant Jonathan Busbee, M.D. in

accordance with O.C.G.A. § 9-11-9.1. Dr. Wilson meets all requirements of the Georgia

Civil Practice Act and Georgia law for the rendering of expert opinio ns against said

Defendants as set forth in his Affidavit and in this case.


                                             34.


        Plaintiff attaches hereto as Exhibit “C” the Affidavit of Mitzi Weekley, R.N., a

Registered Nurse actively involved in the practice of nursing since 1986. Ms. Weekley’s

Affidavit sets forth at least one act of negligence of Defendant Carol Ussery, LPN and

Jane Doe in accordance with O.C.G.A. § 9-11-9.1. Ms. Weekley meets all requirements

of the Georgia Civil Practice Act and Georgia law for the rendering of expert opinions

against said Defendant as set forth in her Affidavit and in this case.


                                             35.


   Plaintiff brings the present action against Defendant Dan Kilgore, the other Upson

County Defendants, Defendant Carol Ussery, LPN, Defendant Jane Doe, LPN and

Defendant Jonathan Busbee, M.D. in their official capacities as employees of Defendant
     Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 12 of 19



Upson County, Georgia, and individually insofar as their failure to provide him timely

and proper medical diagnoses, care and treatment during the period of his incarceration.


                                            36.


         As a result of the Defendants’ actions and/or inactions, Plaintiff’s decedent

Teague received grossly incompetent and inadequate medical care or such a refusal to

provide essential medical care so as to evidence as intentional violation of his

constitutional rights.


                                            37.


        Plaintiff’s bring this action pursuant to the provisions of 42 U.S.C. §§ 1983 and

1988 for a violation of the decedent’s due process and Eighth Amendment rights under

the United States Constitution prohibiting cruel and unusual punishment. Plaintiff’s

decedent Teague received grossly inadequate medical care, along with a failure to

provide him proper treatment during the period of his incarceration. The acts and/or

omissions of the Defendants were sufficiently harmful to evidence a deliberate

indifference to Teague’s serious medical needs during the period of his incarceration.


                                            38.


        Throughout Teague’s period of incarceration leading up to his death, Jail Nurse

Defendant Carol Ussery, LPN, and Defendant Jane Doe, LPN failed to render proper

standard of care nursing diagnosis, care and treatment to Teague as an inmate of the

Upson County Jail.
     Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 13 of 19




                                            39.


         During Teague’s Period of incarceration leading up to his death on September 9,

2016, the Upson County Defendants and various other Upson County and/or Upson

County Sheriff’s Department and/or Jail personnel were negligent in their official and in

individual capacities in their handling, care and treatment of Teague as a Upson County

Jail Inmate, which negligence contributed to the mental and physical pain and suffering

Teague endured prior to his death and which negligence also let to Teague’s death.

Certain intentional actions or inactions on the part of the Upson County Defendants

and/or other Upson Count, Upson County Sheriff’s Department and/or Upson County Jail

Personnel also contributed to Teague’s last pain and suffering, as well as his untimely

death.


                                            40.


         Plaintiff’s bring this action pursuant to the provisions of 42 U.S.C. §§ 1983 and

1988 for a violation of her decedent’s due process and Eighth Amendment rights under

the United States Constitution prohibiting cruel and unusual punishment. Plaintiff’s

decedent Freeman received grossly inadequate medical care, along with a failure to

provide him proper treatment during the period of his incarceration. The acts and/or

omissions of the Defendants were sufficiently harmful to evidence a deliberate

indifference to Teague’s serious medical needs during the periods of his incarceration.


                                            41.
     Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 14 of 19



       The Defendants’ failure to provide Teague adequate medical care was so grossly

incompetent and inadequate such as to shock the conscience, was intolerable to

fundamental fairness and so inadequate as to evidence intentional mistreatment or a

refusal to provide essential care. Said Defendants’ delay in providing Teague access to

proper medical care and treatment was tantamount to unnecessary and wanton infliction

of pain, constituting deliberate indifference to Teague’s medical needs.


                                            42.


        The Defendants had specific knowledge of Teague’s medical needs beginning

with his booking and during the period of his incarceration and their deliberate and

intentional refusal to provide such necessary care constitutes a deliberate indiffere nce to

Teague. Said Defendants were aware that Teague needed medical care because of a

serious risk of harm from illness as evidenced by Teague’s clinical signs and symptoms

during his period of incarceration, readily observable by a reasonable person who should

know and appreciate the risk of harm as to Teague’s serious medical needs.


                                            43.


        During Teague’s period of incarceration, his need for medical treatment was

obvious and the medical care provided by the Defendants was so cursory as to amount to

no treatment al all, with same constituting deliberate indifference to Teague’s medical

needs. During Teague’s period of incarceration, said Defendants were involved in a series

of incidents, which disclosed a pattern of conduct amounting to delibera te indifference

insofar as delayed or denied medical care and treatment. During the period of his

incarceration, Teague was subject to repeated denial, delay, insufficient or inappropriate
     Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 15 of 19



medical treatment of an obviously sick inmate in serious need of medical care, all of

which constitutes evidence of deliberate indifference on the parts of the Defendants.


                                            44.


        Defendant Upson County, Georgia failed to provide even minimally adequate

medical care to Freeman during the period of his incarceratio n.


                                            45.


        Defendant Upson County, Georgia’s medical care system at its Jail was so

inadequate as to effectively deny Teague’s access to appropriate medical care for his

condition. Defendant Upson County, Georgia’s established Policies and Procedures for

providing medical treatment of inmates at its Jail further evidence such a lack of care so

as to constitute deliberate indifference to Teague’s medical needs.


                                            46.


        Defendant Upson County, Georgia, and Defendant Dan Kilgore failed to

supervise county and/or Jail employees, including the Upson County Defendants and Jail

Nurse Defendants Carol Ussery, LPN and Jane Doe insofar as their failure to follow

adopted County Policies and Procedures regarding inmate medical care and treatment.

Said Defendants also failed to establish, adopt, and implement proper policies and

procedures to provide adequate medical care and treatment to county inmates.


                                            47.


       Defendant Dan Kilgore failed to adequately train and supervise his subordinates
     Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 16 of 19



and, particularly, the Upson County Defendants, with such failure constituting, among

other things, a deliberate indifference to inmate’s medical needs.


                                             48.


        The Policies and Procedures for medical care to inmates at its Jail adopted by

Upson County, Georgia, and administered by and through Defendant Dan Kilgore were

so inadequate as to constitute a violation of Teague’s constitutional rights by providing

inadequate, delayed and insufficient medical care and treatment such that its Policies and

Procedures constitute evidence of actual deliberate indifference towards Teague’s

medical needs. Said inadequate Policies and Procedures included amount other things,

having a nurse examine and treat seriously ill inmates with significant medical needs

without a physician present; continuing to treat a seriously ill inmate without a physician

being called upon to examine the inmate within a reasonable time thereafter; allowing

physician consultations with nurses over the telephone instead of requiring direct

observation, examination and working up of sick inmates; allowing a nurse to continue to

see a seriously ill inmate without a physician ever examining the inmate; and by

designing medical protocols which are primarily for cost-effectiveness and to save money

by limiting direct physical care and hospitalizations of seriously ill inmates.


                                             49.


        The aforenoted deliberate indifference to Teague’s serious medical needs by the

Defendants violated Teague’s constitutional due process rights in that the Defendant’s

actions were under color of state law. Additionally, the County and County Jail’s Policies

and Procedures relating to inmate medical care and treatment were promulgated and
      Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 17 of 19



carried out under the mandate of Georgia state statutes requiring that the co unty provide

adequate medical care for its inmates, namely O.C.G.A. § 42-5-2, amongst others.


                                               50.


        The Defendants’ deliberate indifference to Teague’s medical condition and need

for immediate medical intervention and their deliberate indifference in failing to properly

train the aforenoted personnel to prevent deaths caused by medical emergencies were in

violation of the Fourth, Eighth, and Fourteenth Amendments to the United States

Constitution.


                                               51.


        Certain of the aforenoted actions of the Defendants, except Defendant Upson

County, evidenced intentional actions and/or at least a conscious indifference to act such

that the Plaintiff Administrator is entitled to an award of punitive damages against said

Defendants in an amount to be determined at any trial of this action.


                                               52.


        All Defendants were grossly negligent in the care of Thomas Teague in the

following:


(a)          Failure to properly treat and monitor the condition of the patient in a timely

manner when signs and symptoms of a potentially deteriorating condition are evident and

probable;


(b)          Failure to ensure a safe environment;
       Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 18 of 19



(c)          Failure to properly document intake screening medical and mental health

assessment and referral;


(d)          Failure to act upon, recognize and anticipate adverse reactions and/or side

effects of withdrawal from phsychotropic medication;


(e)          Failure for the nursing staff to communicate in a timely manner the injuries

incurred from falling in the shower and increased heart rate and blood pressure and

complaint of heart slowing down and racing.


(f)          Failure to perform cardiopulmonary resuscitation (CPR), defibrillation and

other life saving measures.




WHEREFORE, PLAINTIFFS pray as follows:


(a) That Plaintiff have judgment against the Defendants Upson County, Georgia, Upson

      County Sheriff, Jonathan Busbee, M.D., FACP, CCHP, Carol Ussery, LPN, Jane Doe

      who’s initials are EW, LPN., jointly and severally, as to Plaintiff’s claims for

      professional negligence, for sums in excess of $10,000 in addition to special

      damages.

(a) That Plaintiff be awarded a sum in excess of Ten Million Dollars as to their other

      causes of action set forth herein;

(b) That Plaintiff be awarded their costs and reasonable attorneys’ fees;

(c) That Plaintiff have a jury trial at any trial at this matter; and

(d) That Plaintiffs have such other and further relief as this Court deems equitable and
 Case 5:16-cv-00400-MTT Document 1 Filed 09/06/16 Page 19 of 19



proper.




                                     /s/ L. Robert Lovett
                                     L. ROBERT LOVETT
                                     Ga. State Bar No. 459566
                                     MATTHEW M. MYERS
                                     Ga. State Bar No. 533351
                                     Attorneys for Plaintiff



                                     Lovett & Myers, LLC
                                     530 Forest Hill Road
                                     Macon, Georgia 31210
                                     478-476-4500 Office
                                     478-476-9090 Fax
